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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

FCSTONE MERCHANT SERVICES,                     §
LLC                                            §
                                               §
Plaintiff,                                     §
                                               §
v.                                             §       Civil Action No. 4:20-cv-03693
                                               §
SGR ENERGY, INC., ST SHIPPING &                §
TRANSPORT PTE LTD, and THOMAS                  §
SAN MIGUEL, individually,                      §
                                               §
Defendants.                                    §

                     AGREED MOTION FOR ORDER ENTERING
                AMENDED DISCOVERY SCHEDULE AND TRIAL SETTING

TO THE HONORABLE UNITED STATES DISTRICT COURT:

          Plaintiff, FCStone Merchant Services, LLC (“FMS”), ST Shipping & Transport PTE LTD

(“STS”), SGR Energy, Inc. (“SGR”) and Thomas San Miguel (“TSM”) (collectively, the “Parties”)

file this Agreed Motion for Entry of Amended Scheduling Order and respectfully states as follows:

          1.    FMS filed this lawsuit against STS, SGR and TSM (collectively, the “Defendants”)

on October 27, 2020. Dkt. No. 1.

          2.    FMS filed its First Amended Complaint on December 11, 2020. Dkt. No. 14.

          3.    The Defendants each filed motions to dismiss the First Amended Complaint.

          4.    The Parties participated in a scheduling conference before Magistrate Judge

Frances H. Stacy on April 15, 2021 which set the trial of this matter for November 7, 2022. Dkt.

No. 42.




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       5.      By an Order dated July 14, 2021, this Court denied SGR’s Motion to Dismiss,

denied in part and granted in part TSM’s Motion to Dismiss, and denied in part and granted in part

STS’s Motion to Dismiss. Dkt. No. 48.

       6.      FMS filed a Second Amended Complaint on July 30, 2021. Dkt. No. 49.

       7.      SGR filed a Counterclaim against FMS on August 12, 2021. Dkt. No. 50.

       8.      STS filed a Counterclaim against FMS and a Crossclaim against SGR on August

13, 2021. Dkt. No. 51.

       9.      While the Parties have engaged in initial written discovery, there is still much to be

done, several discovery issues remain outstanding, and the Parties are presently working through

certain discovery disputes.

       10.     On November 17, 2021, SGR Energy Inc. (“SGR”) filed a Notice of Suggestion of

Bankruptcy [Dkt. No. 60], wherein SGR advised this Court that it filed for Bankruptcy in the

United States Bankruptcy Court for the Southern District of Texas, Victoria Division styled as In

re SGR Energy, Inc., Case No. 21-60090 (CML) (the “Bankruptcy Action”).

       11.     As a result of the Bankruptcy Action and pursuant to Title 11 U.S.C. § 101, this

Court entered an order staying this lawsuit on November 30, 2021 (the “Stay”) which terminated

all pending deadlines. Dkt. No. 61.

       12.     During the pendency of the Bankruptcy Action, SGR and TSM’s counsel withdrew

from this action, and Brendon Singh appeared as their new counsel of record on January 21, 2022.

Dkt. Nos. 62-63.

       13.     The Bankruptcy Action was dismissed on January 21, 2022. See Bankruptcy Action

Order Dismissing Case at Dkt. No. 64-1.




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       14.      Pursuant to the Court’s directives, upon the dismissal of the Bankruptcy Action,

the parties were advised to file a motion to lift the Stay of this action and submit a proposed

scheduling order with deadlines to replace the previously terminated deadlines.

       15.     As a result of the dismissal of the Bankruptcy Action, FMS filed an Unopposed

Motion to Lift the Stay on February 22, 2022, which was granted by the Court on February 25,

2022. Dkt. Nos. 64 and 65.

       16.     Due to the impact of the Bankruptcy Action and the Stay on discovery efforts,

expert and trial deadlines in this lawsuit, the Parties respectfully seek the entry of an order entering

the amended scheduling order with new deadlines to govern this lawsuit, attached hereto as

Exhibit A.

       17.     The entry of an amended scheduling order will allow the Parties to serve additional

discovery, conduct depositions, present motions and prepare for trial.

       18.     This Motion for Entry of an Amended Scheduling Order is not sought for purposes

of delay, but so that justice may be done.

       WHEREFORE, PREMISES CONSIDERED, the Parties respectfully request that this

Court enter the Amended Scheduling Order attached hereto as Exhibit A.

Dated this 14th day of March, 2022                     Respectfully submitted,
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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 14, 2022, a true and correct copy of the foregoing document
was served via ECF to:

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